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   CA-Northern District Court: Juror Questionnaire 2022

Thank you to all our prospective jurors!
Please answer each question as completely and as accurately as you can. You may not do any
research on this case, discuss the questions or case with anyone, or receive any assistance in
completing the questionnaire. The completed questionnaire will be shared with the judge, attorneys,
and parties to the case, and otherwise only upon express order of the Court. Thank you so much for
your cooperation.




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   CA-Northern District Court: Juror Questionnaire 2022

Basic information about you

* 1. Your full name (first and last)




* 2. Your age




* 3. What city or town do you live in?




* 4. How many years have you lived there?




* 5. Where were you born?




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    CA-Northern District Court: Juror Questionnaire 2022

Information about your work & education

   * 1. What is your current employment status?
           Working full-time       Working part-time         Unemployed – looking for work

           Unemployed – not looking for work           Homemaker        Full-time student    Retired   Disabled



* 2. What is your occupation? (If not currently employed, please name your most recent prior occupation.)




* 3. Who is (or was) your employer?




* 4. How long have you worked for this employer (or how long did you work there)?




* 5. Please answer the following about your education, or enter "none" if not applicable:
What is the highest level of
education you completed?

What college and/or
vocational schools have
you attended?

What was your major area
of study?




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   CA-Northern District Court: Juror Questionnaire 2022

Information about your household

   * 1. What is your marital status?
         Single       Married or Living with Partner   Separated or Divorced     Widowed



* 2. If you have children, please list their age(s) and occupation/employer if appropriate. (If you do not have
children, please enter "none.")




* 3. Please list the occupation/employer of your spouse, partner, or any other adults who live with you. (If you
do not live with other adults, please enter "none.")




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    CA-Northern District Court: Juror Questionnaire 2022

Previous jury service

    * 1. Have you ever served on a jury before?
               No

               Yes. When and where did you serve on a jury?




    * 2. Did the jury/juries you served on reach a verdict?
               No

               Yes

               Mixed (some did and some did not reach a verdict)

               Have not served on a jury



* 3. Were the jury/juries you served on civil or criminal?
Number of
civil juries
served on:

Number of
criminal
juries served
on:



* 4. Were the jury/juries you served on in municipal/state court or in federal court?
Number of
municipal/sta
te juries
served on:

Number of
federal juries
served on:




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  CA-Northern District Court: Juror Questionnaire 2022

Background questions

  * 1. Do you have any religious views which might affect your service as a juror?
       No

       Yes. Please explain:




  * 2. Have you or any close relatives been the victim of any kind of crime?
       No

       Yes. Please describe the crime and circumstances:




  * 3. Are any members of your immediate family employed by law enforcement?
       No

       Yes. Please describe:




  * 4. Would you tend to believe or disbelieve the testimony of a law enforcement officer based on their
  profession?
       No

       Yes. Please explain:




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* 5. If you were to serve as a juror in a criminal case, would you have any difficulty with the fact that the
defendant in a criminal case is not required to testify?
     No

     Yes. Please explain:




* 6. Have you or a close friend or relative ever been discriminated against because of race, ethnic background,
gender, religion, disability, sexual identity or preference, or economic status?
     No

     Yes. Please explain:




* 7. Do you have any strong feelings about awarding money to the winning party in a civil case?
     No

     Yes. Please explain:




* 8. Have you, your relatives, or anyone close to you ever been involved in a lawsuit of any kind either as a
plaintiff, defendant, or witness?
     No

     Yes. Please describe:




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   CA-Northern District Court: Juror Questionnaire 2022

Final questions and juror oath

1. Is there anything you'd like the judge in this case to know?




   * 2. Are you fully vaccinated for COVID-19 (one dose of Johnson & Johnson or two doses of Moderna or
   Pfizer) and have you received a booster?
          No, not fully vaccinated

          Yes, fully vaccinated. No booster

          Yes, fully vaccinated with booster

          Decline to answer

   Please provide date of most recent shot:




* 3. JUROR’S OATH:
I, the undersigned, declare under penalty of perjury that my answers set forth in this Jury Questionnaire are
true and correct to the best of my knowledge and belief. I have not discussed my answers with anyone else or
received assistance in completing the questionnaire.

Your name:

Today's date:




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